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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                  4:03CR3079-1
                                            )
             V.                             )
                                            )
LAWRENCE VERNAIL ALLEN,                     )                      ORDER
                                            )
                    Defendant.              )

       The defendant has submitted a document which I construe to be a motion seeking a
reduction in the defendant’s sentence pursuant to 18 U.S.C. § 3582(c)(2) as a result of the
Sentencing Commission’s decision to make the amendments to the “crack” Guidelines
retroactive. The procedures that the court will use to handle such motions are currently
being developed, and the amendments are not retroactive until March 3, 2008. Therefore,

      IT IS ORDERED that:

      1.     The defendant’s submission is considered to be a motion made pursuant
             to 18 U.S.C. § 3582(c)(2) and for appointment of counsel.

      2.     The defendant’s motion pursuant to 18 U.S.C. § 3582(c)(2) and for
             appointment of counsel shall be held in abeyance until further order of
             the court.

      3.     My judicial assistant shall call this case to my attention on February 29,
             2008.

      4.     A copy of this memorandum and order shall be transmitted to Chief
             Probation Officer James Rowoldt and Chief Deputy Probation Officer
             Mary Lee Ranheim. I request: (a) that they begin to compile a list of all
             cases on my docket that may warrant a reduction in sentence due to the
             retroactive amendment of the “crack” Guidelines; (b) that they add this
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           case to that list; (c) that they begin to develop procedures for the
           disposition of these types of cases by the probation office; and (d) that
           they advise me when the aforementioned procedures have been
           finalized.

     5.    The Clerk shall mail a copy of this memorandum and order to the last
           known address of the defendant.

     January 23, 2008.                  BY THE COURT:

                                        S/ Richard G. Kopf
                                        United States District Judge




                                           2
